    Case 2:17-cv-02469-CM-KGS Document 5 Filed 08/16/17 Page 1 of 17




                 IN THE UNITED STATES DISTRICT COURT FOR
                          THE DISTRICT OF KANSAS


SANDRA LYNNE DOWNING,                      )
Individually and as Personal Representative)
of THE ESTATE OF BRIAN DOWNING,            )
Deceased, and on behalf of KRISTYL DOWNING,)
and JAMES DOWNING, Death Beneficiaries of  )
THE ESTATE OF BRIAN DOWNING                )
        12774 90th Ave.,                   )
        Surrey, BC, V3V6G5                 )
                                           )
                           Plaintiff,      )
                                           )
v.                                         )             Case No.:     2:17-cv-02469
                                           )
CESSNA AIRCRAFT COMPANY,                   )
A SUBSIDIARY OF TEXTRON                    )
AVIATION, INC., a Kansas corporation;      )
      Serve: The Corporation Company, Inc. )
             112 SW 7th Street, Ste. 3C    )
             Topeka, KS 66603              )
and                                        )
                                           )
JOHN DOES 1-20,                            )
                                           )
                           Defendants.     )
                                           )


                  FIRST AMENDED COMPLAINT FOR DAMAGES
                       PURSUANT TO K.S.A. CHAPTER 60

        COMES NOW Plaintiff, Sandra Lynne Downing, by and through counsel,

 individually and as Personal Representative of The Estate of Brian Downing, Deceased,

 and on behalf of Kristyl Downing and James Downing, Death Beneficiaries of the Estate

 of Brian Downing and for her general allegations against all Defendants, states and

 alleges as follows:
Case 2:17-cv-02469-CM-KGS Document 5 Filed 08/16/17 Page 2 of 17




   1.   This Petition arises out of the crash of a Cessna 182T aircraft with United

        States registration number N6289Z (sometimes referred to as the “accident

        aircraft” or “subject aircraft”) which crashed on August 13, 2015, near

        Oroville, Okanogan County, Washington. The pilot, Albert Losvar, and

        his passenger, Brian Downing, both perished in the crash.

                                      Plaintiff

   2.   Sandra Lynne Downing (“Plaintiff” or “Petitioner”), is the duly appointed

        Personal Representative of the Estate of Brian Downing, deceased. She is

        the wife of Brian Downing who perished in a plane crash on August 13,

        2015 in Oroville, Okanogan County, Washington.

   3.   Sandra Downing, Kristyl Downing and James Downing are heirs at law

        and entitled to recover for the wrongful death of Brian Downing pursuant

        to K.S.A. 60-1901 et seq. (“Plaintiffs” or “Petitioners”).

   4.   Sandra Downing brings this action pursuant to the Wrongful Death,

        Survival and Special Survival statutes of the State of Kansas, individually,

        and in her capacity as Personal Representative for the benefit of the Estate

        of Brian Downing, and in her representative capacity on behalf of all

        relatives of Brian Downing who have legally cognizable claims for

        wrongful death, including but not limited to Kristyl Downing and James

        Downing, adult children of the decedent Brian Downing.

   5.   Sandra Downing is entitled to claim for damages as a result of pre-death

        pain and suffering, as a survival claim pursuant to K.S.A. 60-1801.

                                    Defendant Cessna




                                      2
Case 2:17-cv-02469-CM-KGS Document 5 Filed 08/16/17 Page 3 of 17




   6.    Defendant Cessna Aircraft Company, is a subsidiary of Defendant Textron

         Aviation, Inc.

   7.    Textron Aviation, Inc. is a Kansas corporation, existing under the laws of

         the State of Kansas, with its principal place of business in Wichita,

         Kansas.

   8.    Defendant Cessna is in the business of designing, testing, certifying,

         manufacturing, selling, supplying, supporting, maintaining, and repairing

         general aviation aircraft and component parts therefor, including the

         accident aircraft.

   9.    The subject aircraft was manufactured in 2012.

   10.   The subject aircraft was sold in 2012.

   11.   Defendant Cessna’s designated registered agent for the receipt of service

         of process is THE CORPORATION COMPANY, INC., 112 SW 7th

         Street Suite 3C, TOPEKA, KS 666039.

                                       Doe Defendants

   12.   The true names and capacities, whether individual, corporate, associate or

         otherwise, of Defendants DOES 1-20, inclusive, are unknown to Plaintiff

         and are therefore sued under those fictitious names.

   13.   Plaintiff is informed and believes, and therefore alleges, that each of the

         individuals was in some manner tortuously responsible for the event and

         happenings alleged in this Complaint and legally caused the injuries and

         damages to Plaintiff alleged herein.

                              Allegations Common to All Counts




                                       3
Case 2:17-cv-02469-CM-KGS Document 5 Filed 08/16/17 Page 4 of 17




   14.   On or about August 13, 2015 the subject aircraft departed from Dorothy

         Scott Airport (0S7), Oroville, Washington, at approximately 8:30 a.m.

         Pacific daylight time, with an intended destination of Spokane International

         Airport (GEG) in Spokane, Washington (“subject flight”).

   15.   The weather conditions during the flight allowed for operation under Visual

         Flight Rules and the winds were light and variable.

   16.   At all times during the last flight of the accident aircraft which resulted in the

         crash described herein, Albert Losvar acted as the pilot-in-command of the

         accident aircraft.

   17.   At approximately 8:45 a.m. Pacific daylight time the subject aircraft crashed

         killing occupants, pilot Albert Losvar, and passenger Brian Downing.

   18.   As the owner of the accident aircraft, Mr. Losvar was primarily responsible

         for maintaining it in an airworthy condition.

   19.   A photograph (below) taken by the National Transportation Safety Board at

         the scene of the crash showed an obstructed fuel selector port.




                                         4
Case 2:17-cv-02469-CM-KGS Document 5 Filed 08/16/17 Page 5 of 17




   20.   As a direct and proximate result of the above-described plane crash,

         Plaintiff’s decedent, Brian Downing was killed. His Estate, and his

         beneficiaries have sustained injuries and damages which are set forth below.

   21.   The above-described plane crash and resulting damages to Plaintiff were

         the direct and proximate result of the combined negligence and or tortious

         conduct of all the Defendants herein.

   22.   As a direct and proximate result of said conduct of the Defendants,

         Plaintiff has sustained injuries and damages which are set forth below.

                     Negligence of Defendant Cessna:

   23.   The crash of N6289Z which resulted in the injuries and damages to

         Plaintiff was caused by the negligence, carelessness and recklessness of

         Defendant Cessna in that the subject aircraft, engine or components

         thereof were negligently, carelessly and recklessly designed,

         manufactured, assembled, tested, installed, marketed, sold and delivered.

   24.   Defendant Cessna failed to issue proper and adequate warnings,

         guidelines, instructions and cautions related to the maintenance and use of

         the subject aircraft and or engine and or components thereof and therefore

         were not reasonably safe. Defendant Cessna also breached its post-sale

         duty to warn and failed to act to prevent use of the dangerous subject

         aircraft, engine and or component parts.

   25.   As a direct and proximate cause of the above negligence, including

         Defendant Cessna’s acts and omissions, N6289Z crashed, killing Brian

         Downing, and causing injuries and damages to Plaintiff as set forth below.




                                       5
Case 2:17-cv-02469-CM-KGS Document 5 Filed 08/16/17 Page 6 of 17




   26.   At all material times relevant hereto, Defendant Cessna were engaged in

         business of designing, manufacturing, assembling, marketing, testing,

         selling, delivering, distributing, supplying parts and or maintaining the

         subject model aircraft and or engine and or components thereof, and were

         responsible for issuing instructions, guidelines, warnings and cautions

         concerning the use of the subject model aircraft, engine and or

         components thereof.

   27.   The Defendant Cessna created and or sold the subject aircraft, engine and

         or components thereof, which were defective, unsafe and unreasonably

         dangerous in that the design, manufacture, remanufacture, assembly,

         testing, marketing, installing, selling and delivery of the subject aircraft

         and or engine and or components thereof were unreasonably dangerous.

   28.   The Defendant Cessna provided inadequate instructions, guidelines,

         warnings, manuals and cautions regarding maintenance, testing, service,

         storage, and operation of the subject aircraft, engine and or components

         thereof making the subject aircraft and or engine and or components

         thereof unreasonably dangerous.

   29.   Defendant Cessna provided inadequate warnings regarding the fuel

         selector valve, making the subject aircraft and or engine and or

         components thereof unreasonably dangerous.

   30.   As a direct and proximate result of the defective conditions and the acts

         and omissions of Defendant Cessna, the subject aircraft lost power and




                                        6
   Case 2:17-cv-02469-CM-KGS Document 5 Filed 08/16/17 Page 7 of 17




              crashed, killing Brian Downing, and causing injuries and damages to

              Plaintiff set forth below.

       31.    Defendant Cessna negligent and breached its duty to Decedents in its

              manufacturing of the engine as follows:

              a. failing to inspect and detect defects that were unairworthy;

              b. failing to have an adequate quality control program in place to protect

                   users of its products;

              c. failing to take steps to learn of the dangerous nature of its product;

              d. failing to warn users and persons or companies in the chain of

                   distribution of the dangers of its product;

              e. failing to properly train and supervise its employees as to: (i) the

                   dangerous nature of its product; (ii) the proper techniques for

                   manufacture of its product; (iii) the applicable laws, codes, regulations,

                   standards and operating procedures applicable to its product; and

              f.   such other conduct as may be revealed in the course of discovery.

             COUNT I-WRONGFUL DEATH AND SURVIVAL CLAIMS OF
                            BRIAN DOWNING

       COMES NOW Plaintiff and for Count I of their Petition for the survival action

and wrongful death of Brian Downing. and hereby state as follows:

       32.    To the extent they are not inconsistent with the allegations contained in the

              Count, Plaintiffs incorporate by reference as though fully set forth herein

              each and every other allegation of this Petition.

       33.    The Defendants, and each of them, jointly and severally, owed a duty of

              reasonable care to Decedent Brian Downing.



                                             7
Case 2:17-cv-02469-CM-KGS Document 5 Filed 08/16/17 Page 8 of 17




   34.   As a direct and proximate result of the combined negligence of the

         Defendants, as more fully described above, Brian Downing was killed and

         Plaintiffs have thereby sustained damages.

   35.   The negligence of all Defendants, as set forth above, combined to cause or

         directly contributed to cause the death of Brian Downing.

   36.   As a direct and proximate result of the negligence of all Defendants as set

         forth herein, prior to his death, Brian Downing experienced physical

         distress, mental distress, anguish, anxiety, fear, fright, terror, grief and

         shock from the time the left engine failed until his death, entitling his

         Estate to an award of damages.

   37.   As a further direct and proximate result of the negligence and failure of

         Defendants set out elsewhere herein, all Plaintiffs suffered the following

         noneconomic losses:

                 a.      mental anguish, suffering and bereavement; and

                 b.      loss of society, comfort and companionship.

   38.   As a further direct and proximate result of the negligence and failure of

         Defendants set out elsewhere herein, all Plaintiffs suffered the following

         economic losses:

                 a. Loss of services, attention, advice, protection, care training and

                      guidance;

                 b. Loss of earnings that Brian Downing would have provided;

                 c. Medical and funeral expenses; and




                                        8
   Case 2:17-cv-02469-CM-KGS Document 5 Filed 08/16/17 Page 9 of 17




                       d. Such other economic damages and such further relief to the

                          heirs at law pursuant to K.S.A. 60-1901 et seq.

       WHEREFORE, Plaintiff prays for Judgment under Count I of their Petition

against Defendant Cessna, for such damages as are fair and reasonable to exceed

$75,000.00, their costs here incurred and for such further relief as the Court deems just

and proper.

               COUNT II – STRICT PRODUCT LIABILITY CLAIM
                      AGAINST DEFENDANT CESSNA

       COME NOW Plaintiff and for Count II of their Petition against Defendant

Cessna state and allege as follows:

       39.     To the extent they are not inconsistent with the allegations contained in

               this Count, Plaintiffs incorporate by reference as though fully set forth

               herein each and every other allegation of this Petition.

       40.     At all material times relevant hereto, Defendant Cessna was engaged in

               business of designing, manufacturing, assembling, marketing, testing,

               selling, delivering, distributing, supplying parts and or maintaining the

               subject model aircraft and or engine and or components thereof, and were

               responsible for issuing instructions, guidelines, warnings and cautions

               concerning the use of the subject model aircraft, engine and or

               components thereof.

       41.     Defendant Cessna created and or sold the subject aircraft, engine and or

               components thereof, which were defective, unsafe and unreasonably

               dangerous in that the design, manufacture, remanufacture, assembly,




                                             9
Case 2:17-cv-02469-CM-KGS Document 5 Filed 08/16/17 Page 10 of 17




         testing, marketing, installing, selling and delivery of the subject aircraft

         and or engine and or components thereof were unreasonably dangerous.

   42.   Defendant Cessna provided inadequate instructions, guidelines, warnings,

         manuals and cautions regarding maintenance, testing, service, storage, and

         operation of the subject aircraft, engine and or components thereof making

         the subject aircraft and or engine and or components thereof unreasonably

         dangerous.

   43.   Defendant Cessna provided inadequate warnings regarding the fuel

         selector valve, making the subject aircraft and or engine and or

         components thereof unreasonably dangerous.

   44.   As a direct and proximate result of the defective conditions and the acts

         and omissions of Defendant Cessna, the subject aircraft lost power and

         crashed, killing Brian Downing, and causing injuries and damages to

         Plaintiff set forth below.

   45.   As a direct and proximate result of the defective and unreasonably

         dangerous manufacturing of the accident engine and aircraft as existed

         when they were sold, distributed, Brian Downing perished in a plane crash

         on August 13, 2017 in Oroville, Okanogan County, Washington.

   46.   As a direct and proximate result of the conduct of Defendant Cessna as set

         forth herein, prior to his death, Brian Downing experienced physical

         distress, mental distress, anguish, anxiety, fear, fright, terror, grief and

         shock from the time the left engine failed until his death, entitling his

         Estate to an award of damages.




                                       10
  Case 2:17-cv-02469-CM-KGS Document 5 Filed 08/16/17 Page 11 of 17




       47.     As a further direct and proximate result of the conduct of Defendant

               Cessna set out elsewhere herein, all Plaintiffs suffered the following

               noneconomic losses:

                   a. Mental anguish, suffering and bereavement; and

                   b.   Loss of society, comfort and companionship.

       48.     As a further direct and proximate result of the conduct of Defendant

               Cessna set out elsewhere herein, all Plaintiffs suffered the following

               economic losses:

                   a. Loss of services, attention, advice, protection, care training and

                        guidance;

                   b. Loss of earnings that Brian Downing would have provided;

                   c. Medical and funeral expenses; and

                   d. Such other economic damages and such further relief to the heirs at

                        law pursuant to K.S.A. 60-1901 et seq.

       WHEREFORE, Plaintiff prays for Judgment under Count II of their Petition

against Defendant Cessna, for such damages as are fair and reasonable to exceed

$75,000.00, for their costs here incurred and for such further relief as the Court deems

just and proper.

              COUNT III – STRICT LIABILITY CLAIM BASED ON
             FAILURE TO WARN AGAINST DEFENDANT CESSNA

       COMES NOW Plaintiff and for Count III of their Petition against Defendant

Cessna states and allege as follows:




                                            11
Case 2:17-cv-02469-CM-KGS Document 5 Filed 08/16/17 Page 12 of 17




   49.   To the extent they are not inconsistent with the allegations contained in

         this Count, Plaintiffs incorporate by reference as though fully set forth

         herein, each and every other allegation of this Petition.

   50.   Defendant Cessna knew that the engine and or aircraft and component

         parts were defective and had dangerous, harmful and life-threatening

         characteristics.

   51.   Defendant Cessna knew that the engine and or aircraft and component

         parts including various fuel controls were unreasonably dangerous when

         put to a reasonably anticipated use without knowledge of their

         characteristics.

   52.   Defendant Cessna failed to give an adequate warning of the danger of

         engine, aircraft and or component parts to consumers or users of the

         product whom they knew would be subjected to its dangerous

         characteristics.

   53.   The aircraft, engine and component parts were used in a manner

         reasonably anticipated by Defendant Cessna and the aircraft, engines and

         or component parts, and the manner in which the Decedents were harmed

         was reasonably anticipated by Defendant Cessna. Had Decedent known

         of the unreasonably dangerous, harmful and life-threatening nature of the

         aircraft, engine and or component parts he would not have boarded the

         aircraft.




                                      12
Case 2:17-cv-02469-CM-KGS Document 5 Filed 08/16/17 Page 13 of 17




   54.   Decedent’s death was a direct result of the aircraft, engine and or

         component parts being sold and/or distributed and/or used without an

         adequate warning.

   55.   As a direct and proximate result of the conduct of Defendant Cessna as set

         forth herein, prior to his death, Brian Downing. experienced physical

         distress, mental distress, anguish, anxiety, fear, fright, terror, grief and

         shock from the time the left engine failed until his death, entitling his

         Estate to an award of damages.

   56.   As a further direct and proximate result of the conduct of Defendant

         Cessna set out elsewhere herein, all Plaintiffs suffered the following

         noneconomic losses:

                   a.        Mental anguish, suffering and bereavement; and

                   b.        Loss of society, comfort and companionship.

   57.   As a further direct and proximate result of the conduct of Defendant

         Cessna set out elsewhere herein, all Plaintiffs suffered the following

         economic losses:

                 a. Loss of services, attention, advice, protection, care training and

                        guidance;

                 b. Loss of earnings that Brian Downing would have provided;

                 c. Medical and funeral expenses; and

                 d. Such other economic damages and such further relief to the

                        heirs at law pursuant to K.S.A. 60-1901 et seq.




                                         13
  Case 2:17-cv-02469-CM-KGS Document 5 Filed 08/16/17 Page 14 of 17




       WHEREFORE, Plaintiff prays for Judgment under Count III of their Petition

against Defendant Cessna, for such damages as are fair and reasonable to exceed

$75,000.00, for their costs here incurred and for such further relief as the Court deems

just and proper.


             COUNT IV – BREACH OF WARRANTY CLAIM AGAINST
                           DEFENDANT CESSNA

       COMES NOW Plaintiff and for Count IV of their Petition against Defendants

Cessna, states and allege as follows:

       58.     To the extent they are not inconsistent with the allegations contained in

               this Count, Plaintiffs incorporate by reference as though fully set forth

               herein each and every other allegation of this Petition.

       59.     At all relevant times, the Defendant Cessna warranted the subject engine,

               and components and or aircraft were airworthy, were or merchantable

               quality, were fit and safe for the purposes for which they were designed,

               manufactured, assembled, tested, marketed, sold, and maintained and were

               free of defects and that the guidelines, instructions, cautions and warnings

               pertaining to the use of the subject engine and or components thereof were

               proper, sufficient, adequate and complete.

       60.     Defendant Cessna breached said warranties in that the subject engine and

               or components and or aircraft were not airworthy, or of merchantable

               quality, were not fit and safe for the purposes for which they were

               designed, manufactured, assembled, tested, marketed, sold and maintained

               and were not free of defects and were otherwise defective and that the




                                            14
Case 2:17-cv-02469-CM-KGS Document 5 Filed 08/16/17 Page 15 of 17




         guidelines, instructions, cautions and warnings pertaining to the use

         thereof and continued airworthiness were not proper, sufficient, adequate

         and complete.

   61.   The sale and or supply of the subject engine and or component and or

         aircraft placed decedent Brian Downing in privity of contract Defendant

         Cessna. It was reasonable for these defendants to expect that the aircraft

         owner and pilot would carry passengers on flights. Plaintiff’s decedent,

         Brian Downing, was also in privity as an intended third-party beneficiary.

   62.   As a direct and proximate result of the aforementioned breach of

         warranties, N6289Z crashed, killing Brian Downing, and causing injuries

         and damages to Plaintiff as set forth below.

   63.   As a direct and proximate result of Defendant Cessna’s breach of the

         implied warranty of good and merchantable quality and fitness for the

         particular intended use, Decedent perished in the manner described more

         specifically above.

   64.   As a direct and proximate result of the conduct of Defendant Cessna as set

         forth herein, prior to his death, Brian Downing. experienced physical

         distress, mental distress, anguish, anxiety, fear, fright, terror, grief and

         shock from the time the left engine failed until his death, entitling his

         Estate to an award of damages.

   65.   As a further direct and proximate result of the conduct of Defendant

         Cessna set out elsewhere herein, all Plaintiffs suffered the following

         noneconomic losses:




                                       15
  Case 2:17-cv-02469-CM-KGS Document 5 Filed 08/16/17 Page 16 of 17




                       a.      Mental anguish, suffering and bereavement; and

                       b.      Loss of society, comfort and companionship.

       66.     As a further direct and proximate result of the conduct of Defendant

               Cessna set out elsewhere herein, all Plaintiffs suffered the following

               economic losses:

                   a. Loss of services, attention, advice, protection, care training and

                       guidance;

                   b. Loss of earnings that Brian Downing would have provided;

                   c. Medical and funeral expenses; and

                   d. Such other economic damages and such further relief to the heirs at

                       law pursuant to K.S.A. 60-1901 et seq.

       WHEREFORE, Plaintiff prays for Judgment under Count IV of their Petition

against Defendant Cessna, for such damages as are fair and reasonable to exceed

$75,000.00, for their costs here incurred and for such further relief as the Court deems

just and proper.

                             REQUEST FOR JURY TRIAL

       COME NOW Plaintiff, by and through their counsel of record, and hereby

demand a trial by jury of all issues.



                                              Respectfully Submitted,

                                              PRESLEY & PRESLEY, LLC


                                              By/s/Kirk R. Presley




                                            16
Case 2:17-cv-02469-CM-KGS Document 5 Filed 08/16/17 Page 17 of 17




                                KIRK R. PRESLEY USDC #70562
                                SEAN M. BROWN KS# 26694
                                4801 Main Street, Suite 375
                                Kansas City, Missouri 64112
                                kirk@presleyandpresley.com
                                sean@presleyandpresley.com
                                (816) 931-4611 telephone
                                (816)831-4646 facsimile
                                ATTORNEYS FOR PLAINTIFF




                               17
